Case 4:20-cr-00276-GKF Document 108-1 Filed in USDC ND/OK on 04/26/21 Page 1 of 3

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

Case # 20-cr-276-GKF

NOTE FROM THE JURY

YOUR HONOR:

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We, the jury, have selected __
Please Prigt th Name o! the koreperson ~ -

-—

as our foreperson in the above mentioned case.

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Time: AW 2 hon
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JR-O09a (9/05)

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Case 4:20-cr-00276-GKF Document 108-1 Filed in USDC ND/OK on 04/26/21 Page 2 of 3

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

Case # 20-cr-276-GKF

NOTE FROM THE JURY

YOUR HONOR:

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RESPONSE FROM THE COURT
TO THE JURY:

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Date: 4 [ze (24
Time:__3 45 p.m. (Lesa Lt: uorgce

United St&tesDistrict Court Judge

JR-O9b (9/05)

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Case 4:20-cr-00276-GKF Document 108-1 Filed in USDC ND/OK on 04/26/21 Page 3 of 3

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

Case # 20-cr-276-GKF

NOTE FROM THE JURY

YOUR HONOR:

Date: _AA-Dho1s
me SERN Redacted _

RESPONSE FROM THE COURT

TO THE JURY:

Date:

Time:

United States District Court Judge

JR-09b (9/05)

